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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

LIGTEL COMMUNICATIONS, INC.,

              Plaintiff,

       v.                                             Case No. 1:20-cv-00037-HAB-SLC

BAICELLS TECHNOLOGIES INC.;
BAICELLS TECHNOLOGIES NORTH
AMERICA, INC.,

              Defendants.


                SUPPLEMENTAL DECLARATION OF RICK HARNISH

       I, Rick Harnish, declare the following:

       1.     I am a citizen of the United States of America, domiciled in the State of Indiana.

       2.     I have read the Complaint, Declaration of Randy Mead dated January 20, 2020,

Declaration of Josh Wentworth dated January 20, 2020, Declaration of Randy Mead filed on

April 3, 2020, and Declaration of Josh Wentworth dated April 3, 2020.

       3.     Baicells will complete the migration of its customers to the new PLMN/HNI Code

314-030 by July 1, 2020.

       4.     During the migration, Baicells has been operating two separate CloudCore EPC

environments—the original environment using PLMN/HNI Code 31198, and a new environment

using PLMN/HNI Code 314-030.

       5.     On July 1, 2020, Baicells will retire the original CloudCore EPC environment

using PLMN/HNI Code 31198, and any network operator devices not upgraded to Baicells’

recently released firmware as of that date risk going offline. Baicells publicly announced this

retirement date to its customers on March 18, 2020.


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        6.      It is critical, therefore, that Baicells’ customers be given the time necessary over

the next several weeks—between now and July 1, 2020—to install and troubleshoot any issues

encountered in the transition to the new firmware before Baicells discontinues and retires the old

CloudCore EPC environment.

        7.      Baicells’ customers are network operators who provide fixed wireless broadband

internet service to rural communities in the United States.

        8.      Baicells’ customers are usually the only provider of wireless broadband internet

service in the rural communities that they serve.

        9.      Baicells’ customers currently consist of 544 unique operators, serving those rural

communities.

        10.     Those customers currently serve approximately 26,248 end users. Those end

users include families and businesses, and therefore, the number of unique individuals relying on

those 544 network operators for internet access is likely much higher than 26,248.

        11.     If Baicells were ordered to shut down its old CloudCore EPC environment before

the migration is complete, then a substantial portion of the 26,248 end users would immediately

lose access to the internet.

        12.     Much of the country, including the rural areas served by Baicells’ customers, is

under “stay at home” orders in place to address the COVID-19 pandemic.

        13.     Without internet access, consumers impacted by the premature shutdown of

Baicells’ old CloudCore EPC environment would be hindered in their ability to work from home,

complete school assignments from home, and engage in telemedicine and other virtual-based

medical care. Indeed, a substantial portion of these thousands of consumers would be unable to

complete these essential tasks at all.



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       14.     In addition to the harm that would be caused to thousands of consumers by a

premature retirement of Baicells’ old CloudCore EPC environment, the relationships of those

customers with their service providers—Baicells’ customers—would likely be severely and

irreparably damaged.

       15.     In turn, the premature retirement of Baicells’ old CloudCore EPC environment

would cause severe and irreparable damage to Baicells’ relationships with its own network-

operator customers.

       16.     The July 1, 2020 cut-off date recently announced by Baicells is consistent with

the migration plan that Baicells first submitted to IOC/ATIS in September 2019, and with the

periodic updates that Baicells has provided to IOC/ATIS over the following months. In fact,

Baicells is in the very last step of its migration plan, which has taken months to fully implement.

       17.     Baicells’ migration plan consists of five phases:        (1) acquisition of a new

PLMN/HNI code; (2) software development and new cloud EPC integration to utilize the new

PLMN/HNI Code; (3) scenarios testing and migration preparation; (4) networks validation; and

(5) the announcement and commencement of commercial networks migration. (See Exhibit 2 to

First Harnish Decl. at BAICELLS_000032554.)




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       18.     Baicells is now in phase five of that five-phase plan, is on track to complete that

final phase by July 1, 2020.

       19.     Baicells obtained the 314-030 PLMN/HNI Code from iConectiv on July 29, 2020.

       20.     Baicells began developing new software and the new CloudCore EPC

environment on or about August 7, 2020.

       21.     In September 2019, Baicells began testing the new PLMN/HNI Code of 314-030

and, by the end of September of 2019, Baicells was able to confirm successful preliminary

testing of the PLMN/HNI Code of 314-030.

       22.     In October 2019, Baicells recruited certain customers to conduct a trial of the

software changing the CloudCore PLMN/HNI Code to 314-030 so that Baicells could begin

identifying software bugs and fixing those bugs. As is common in software development,




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Baicells has identified bugs and has continuously revise the supporting software and released

new versions over the following months to resolve bugs and related issues.

       23.      Also in October 2019, Baicells ceased shipping SIM cards programmed with the

PLMN/HNI Code 31198. Baicells now only ships SIM cards programmed with the PLMN/HNI

Code 314-030.

       24.      In November 2019, Baicells began revising and re-writing the numerous guides it

provides to its customers. This work included eight different guides and data sheets, many of

which are of voluminous and detailed. At the same time, Baicells began revising all training

materials to use the new PLMN/HNI Code 314-030 and updated software as well.

       25.      In addition, Baicells continued running test scenarios and monitoring the data logs

of those customers who updated to the new software to identify and correct bugs.

       26.      In early December 2019, Baicells enlisted additional customers to conduct trials

of the software changing the CloudCore PLMN/HNI Code to 314-030.                  Baicells needed

customers to try the new software so that Baicells could collect more data regarding any software

bugs that needed to be corrected in advance of a widespread release of the software. Throughout

this time, Baicells continued identifying and resolving software bugs.

       27.      On December 10, 2019, Baicells announced that generally available software

updates for certain equipment had been released that would facilitate the change of the

CloudCore PLMN/HNI Code to 314-030.

       28.      By the end of December 2019, Baicells was continuing to test the software with

customers while upgrading backend operations and firmware.

       29.      In January 2020, Baicells had begun work to replace all documents on its website

referring to PLMN/HNI Code 31198 and update those documents to reflect the new PLMN/HNI



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Code 314-030. Baicells completed the migration of its website to reflect the new PLMN/HNI

Code 314-030 no later than February 19, 2020.

       30.    On January 29, 2020, Baicells announced that new software had been released

that would facilitate the update of the CloudCore PLMN/HNI Code to 314-030.

       31.    On February 28, 2020, Baicells announced a firmware update that corrected bugs

from the previous version. With the release of this new version, Baicells began aggressively

campaigning for operators to upgrade to the new firmware version, which utilizes the new

PLMN/HNI Code of 314-030.

       32.    On March 18, 2020, I made an announcement, including on the Baicells Website

Community Forum and Baicells Operator Support Group on Facebook, that Baicells is retiring

its original PLMN/HNI Code and instructed operators to upgrade all eNodeBs—the base stations

that broadcast the PLMN/HNI Code to end users—to firmware utilizing the new PLMN/HNI

Code of 314-030 as soon as possible.

       33.    On April 7, 2020, I followed up that announcement with an email to all customer

network operators directing the operators to upgrade all eNodeBs to the latest software. I also

posted this information on the Baicells Website Community Forum and on the Baicells

Operators Support Group on Facebook.

       34.    I also directed all operators to report any issues to support_na@baicells.com.

This enables Baicells to continue monitoring and addressing any issues with the software, which

in turn enables and encourages all operators to upgrade to the new software utilizing the new

PLMN/HNI Code 314-030.




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        35.    As of April 7, 2020, over 26% of eNodeBs were broadcasting the new

PLMNIHNl Code of 314-030, and Baicells remains on track to convert all eNodeBs by the July

 1, 2020 deadline.



        I declare under penalty of perjury that the foregoing is true and correct.

Executed on          f~? -,"20';; 0            (date) in the State of Indiana, United States of

America.




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